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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


  U.S. EQUAL EMPLOYMENT
  OPPORTUNITY COMMISSION,

                         Plaintiff,
                                                              Civil Action No. 8:20-cv-02128
                  -v-

  CHIPOTLE MEXICAN GRILL, INC.,

                         Defendant.


                                  NOTICE OF APPEARANCE

       Please take notice that Gary R. Kessler from the law firm of Martenson, Hasbrouck &

Simon LLP appears in this case as counsel for Defendant Chipotle Mexican Grill, Inc., and requests

that all future pleadings, orders, and correspondence be directed to his attention.

       Respectfully submitted this 25th day of September, 2020.

                                                     /s/ Gary R. Kessler
                                                     Gary R. Kessler, Esq.
                                                     Florida Bar No. 232777
                                                     Elizabeth Bulat Turner (Pro hac vice
                                                     application forthcoming)
                                                     Georgia Bar No. 558428
                                                     Hee Won Choi (Pro hac vice application
                                                     forthcoming)
                                                     Georgia Bar No. 364457
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                                                     Counsel for Defendant Chipotle Mexican
                                                     Grill, Inc.
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 25th day of September, 2020, I electronically filed the foregoing

with the Clerk of the Court by using the CM/ECF system which will notify the following attorney

of record:

                                  Brandi Lorraine Meredith
                          Equal Employment Opportunity Commission
                                  501 E Polk St. Ste. 1000
                                   Tampa, FL 33602-3924
                                       813-202-7930
                                 Brandi.meredith@eeoc.gov

       Respectfully submitted this 25th day of September, 2020.

                                                     /s/ Gary R. Kessler
                                                     Gary R. Kessler, Esq.
                                                     Florida Bar No. 232777
                                                     Elizabeth Bulat Turner (Pro hac vice
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                                                     Counsel for Defendant Chipotle Mexican
                                                     Grill, Inc.
